 Case 1:19-cv-00283-ECM-WC DOCUMENT
                           Document2 1-1 Filed 04/19/19 Page 1 of 3
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                                                                                  CIRCUIT COURT OF.
                                                                             HOUSTON COUNTY,ALABAMA
                                                                              CARLA 11. WOODALL CLERK
                           IN THE CIRCUIT COURT OF
                          HOUSTON COUNTY,ALABAMA
CARLOS HINOJOSA FABIAN,
                                                 *
       Plaintiff,                                *
                                                 *
vs.                                                   Case No. CV 2019-
                                                 *
CITY OF DOTHAN,A Municipal
Corporation; TOM DAVIS,Officially
and Individually, and X,Y and Z,being
those Agents Employees, and/or Servants
of the City of Dothan Whose Names
Otherwise are Unknown to Plaintiff at this
time, Officially and Individually, who will be *
added by Amenclitient when ascertained, who *
unlawfully seized and hold Plaintiffs property. *
                                                *
        Defendants.


                COMPLAINT FOR DECLARATORY JUDGMENT
         AND DEMAND FOR RELEASE AND RETURN OF SEIZED PROPERTY

        COMES NO W Plaintiff Carlos Hinojosa Fabian, by and through his attorney, and rnoves

 the Court for declaratory and injunctive relief and an order releasing and returning to hirn certain

 personal property belonging to him unlawfully seized by officers with the City of Dothan police

 department and being held by the City ofDothan, to-wit: one 2013 Peterbilt 386 truck, VIN

 IXPHDP9X9DD190295 and one 2004 token trailer, VIN lUYVS25344U094835,showing the

 following:

                                      Jurisdictional Allegations

         1. The City of Dothan is a Municipal Corporation created by the Alabama Legislature.

         2. Tom Davis is an adult citizen of Houston County and an officer with the City of

  Dothan Police Department.
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  Case 1:19-cv-00283-ECM-WC DOCUMENT
                             Document2 1-1 Filed 04/19/19 Page 2 of 3




       3. Defendants X,Y and Z are agents and/or servants of the City of Dothan whose names

are otherwise unknown, officially and individually, who will be added by amendment when

ascertained who wrongfully seized and hold Plaintifrs property.

       4. All events occurred in Houston County, Alabama.

                                         Factual Allegations

           5. On or about February 8,2019,the Dothan Police Department executed a search

warrant on the 2013 Peterbilt 386 truck at 5622 U.S. Highway 231, Dothan, Alabama.

           6. As a result ofthe search, officers ofthe Dothan Police Department seized the

aforementioned 2013 Peterbilt 386 truck, VIN IXPHDP9X9DD190295 and the 2004 token

trailer, VIN 1UYVS25344U094835,the property ofPlaintiff/Claimant Carlos Hinojosa Fabian.

           7. Plaintiff was not present at the time of the search and has not been charged with any

 crirne.

           8. Plaintiff has not engaged in any conduct which would invoke the jurisdiction of the

 State of Alabama or its agents to continue to detain the Plaintiffs property, and continued

 detention ofit is a.n unlawful conversion and interference with Plaintiffs right of dominion over

 and use of his property.

            9. Defendants' continued detention ofPlaintiffs property deprives him ofhis property

  without due process of law in violation of the Fourteenth Arnendment ofthe United States

  Constitution and Article I, Section VI of the Alabama Constitution.

            10. Although Plaintiff has attempted to retrieve his property, it remains in the custody of

  Defendants and, therefore, Defendants continue to interfere with and prevent Plaintifrs riglit of

  dominion over and use of it, thereby depriving him of his property without due process of law in

  violation ofthe Fourteenth Amendment of the United States Constitution and Article I, Section
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  Case 1:19-cv-00283-ECM-WC DOCUMENT
                             Document2 1-1 Filed 04/19/19 Page 3 of 3




VI of the Alabarna Constitution.

       10. Plaintiff has not violated the provisions of Ala. Code § 20-2-93 (1975), as amended,

nor can Defendants make a probable cause/ prima facie showing that he has, which it must do

before instituting forfeiture proceedings.

        11. Defendants had no probable cause to seize Plaintiffs property and cannot connect it

with any controlled substance violation which would justify the seizure.

        WHEREFORE,Plaintiff prays fat-the following relief:

        A. Declaration that the conduct ofthe Defendants violated the rights of the Plaintiff

 under the appropriate constitutional amendments.

        B. A judgment declaring that Defendants wrongfully seized Plaintiffs property.

        C. A judgrnent declaring that Defendants have wrongfully refused to return Plaintiffs

 property.

        D. An injunction prohibiting Defendants from continuing to withhold Plaintiffs property.

         E. An injunction ordering Defendants to immediately return Plaintiffs property.

         F. Costs ofthis proceeding.

         G. Such other legal and equitable relief as this Court deems just and proper.

                                               Motley, Motley & Yarbrough,LLC

                                              s/ Derek E. Yarbrough
                                              Derek E. Yarbrough YAR008
                                              Attorney for Plaintiff
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